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16                          UNITED STATES DISTRICT COURT
17                        SOUTHERN DISTRICT OF CALIFORNIA
18    JANE DOE NOS. 1 through 50, inclusive,    Case No.: 3:20-CV-02440-WQH-KSC
      individuals,
19                                              Judicial Officer: William Q. Hayes
20         Plaintiffs,                          Dept.: 14B
21    v.                                     JOINT MOTION TO FURTHER
                                             EXTEND SUSPENSION OF
22    MG FREESITES, LTD., dba “PORNHUB,” PROCEEDINGS FOR 21 DAYS
23    a foreign entity; MINDGEEK S.A.R.L. a
      foreign entity; and MINDGEEK USA       [(PROPOSED) ORDER SUBMITTED
24    INCORPORATED, a Delaware corporation; CONCURRENTLY HEREWITH]
25    9219-1568 QUEBEC, INC., dba
      “MindGeek,” a foreign entity; and MG
26    BILLING US CORP., dba “Probiller.com,”
      a Delaware corporation,
27
28         Defendants.

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                            JOINT MOTION TO FURTHER EXTEND
                         SUSPENSION OF PROCEEDINGS FOR 21 DAYS
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 1          TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
 2    RECORD:
 3          By this stipulated motion, Plaintiffs Jane Doe Nos. 1-50 (“Plaintiffs”), and
 4    Defendants MG Freesites Ltd, MindGeek S.à.r.l., MindGeek USA Incorporated, 9219-
 5    1568 Quebec Inc., and MG Billing US Corp. (collectively, “Defendants”) (Plaintiffs and
 6    Defendants collectively, the “Parties”), through their counsel, jointly request that the
 7    Court extend its suspension of proceedings in this matter (Dkt. No. 39) for an additional
 8    21 days.
 9          This request is based on the following stipulated facts:
10          1.     On or about December 15, 2020, Plaintiffs filed their original Complaint in
11    this action. (Dkt. No. 1.)
12          2.     On or about April 1, 2021, Plaintiffs filed their First Amended Complaint.
13    (Dkt. No. 23.)
14          3.     On or about April 23, 2021, Defendants filed a Motion for a Stay of
15    Proceedings Pursuant to 18. U.S.C. § 1595(b). (Dkt. No. 28.)
16          4.     On or about May 3, 2021, Defendants filed a Motion to Strike Pursuant to
17    FRCP 12(f). (Dkt. No. 29.)
18          5.     On July 7, 2021, the Parties filed a joint motion to suspend proceedings in
19    order to facilitate discussions regarding the potential resolution of this action. (Dkt. No.
20    36.) On July 8, 2021, the Court granted the joint motion, suspended all proceedings in
21    this matter until August 9, 2021, and denied without prejudice Defendants’ Motion for a
22    Stay of Proceedings Pursuant to 18 U.S.C. § 1595(b) and Defendants’ Motion to Strike
23    Pursuant to FRCP 12(f). (Dkt. No. 37.)
24          6.     After the Court’s July 8, 2021 order, the Parties attended mediation, which
25    took place on July 27, 2021.
26    ///
27    ///
28    ///
                                           2                Case No. 20CV02440
                            JOINT MOTION TO FURTHER EXTEND
                         SUSPENSION OF PROCEEDINGS FOR 21 DAYS
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 1          7.     As the mediation was productive, to facilitate efforts towards a potential
 2    final resolution of this action, the Parties filed a joint motion to further extend the Court’s
 3    prior suspension of proceedings. (Dkt. 38). On August 2, 2021, the Court granted the
 4    joint motion and extended the suspension of all proceedings in this matter until
 5    September 9, 2021. (Dkt. 39).
 6          8.     Since the last extension on August 2, 2021, the Parties have made significant
 7    progress towards a final resolution of this matter, which the Parties expect to complete
 8    within the next 21 days. To allow the Parties to focus on this agreement, the Parties have
 9    agreed to request a 21-day suspension of all proceedings (until September 30, 2021),
10    subject to the Court’s approval.
11          9.     The Parties agree that neither Plaintiffs nor Defendants shall be prejudiced
12    thereby. Based on the foregoing, the Parties jointly request that the Court extend the
13    suspension of all proceedings in the action until September 30, 2021.
14    DATED: SEPTEMBER 9, 2021                RESPECTFULLY SUBMITTED,
15
16                                            BRIAN M. HOLM
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                            JOINT MOTION TO FURTHER EXTEND
                         SUSPENSION OF PROCEEDINGS FOR 21 DAYS
